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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION


    Health Choice Group, LLC, on behalf of The
    United States of America, et al.,

                           Plaintiffs,

    v.                                                  Civil Action No. 5:17-cv-126-RWS-CMC

    Bayer Corporation, et al.,

                           Defendants.


              DEFENDANTS’ OPPOSED MOTION TO STAY DISCOVERY
         AND ADJOURN THE CASE SCHEDULE AND FOR EXPEDITED BRIEFING

          Defendants      Bayer     Corporation      (“Bayer),    AmerisourceBergen        Corporation

   (“AmerisourceBergen”), and Lash Group (“Lash”) (collectively “Defendants”) respectfully move

   to adjourn the discovery proceedings and the rest of the case schedule pending a ruling on the

   Department of Justice’s recently filed Motion to Dismiss Relator’s FCA claims. See Dkt. 116,

   The United States’ Motion To Dismiss Relator’s Second Amended Complaint (hereinafter, “DOJ

   Motion to Dismiss”). Additionally, Defendants respectfully move for expedited briefing on the

   motion to stay discovery pending a decision on the United States’ Motion to Dismiss. Counsel for

   Bayer has consulted with the counsel for the United States, and the United States concurs with the

   requested relief.

          The DOJ Motion to Dismiss fundamentally changed the posture of this case. The

   Government, which is the real party in interest on whose behalf Relator purports to bring this

   lawsuit, has exercised its authority to move to dismiss this case, as well as the other copycat cases

   the Relator has brought in different jurisdictions under different names throughout the United

   States. As demonstrated by the DOJ Motion to Dismiss, it is a near certainty that the Court will
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   grant the Government’s motion, and this case will be dismissed with prejudice as to the Relator.

   Courts in this circuit have indicated such government motions to dismiss FCA cases should be

   afforded absolute deference. See Riley v. St. Luke’s Episcopal Hosp., 252 F.3d 749, 753 n.11 (5th

   Cir. 2001) (“[T]he government retains the unilateral power to dismiss an action notwithstanding

   the objections of the [relator].”) (citations and internal quotation marks omitted); United States ex

   rel. May v. City of Dallas, No. 3:13-cv-4194, 2014 WL 5454819, at *3 (N.D. Tex. Oct. 27, 2014)

   (“The Swift court makes a compelling case that the United States should not be compelled to permit

   a relator to sue on its behalf and that the statutory language does not require—or even permit—

   judicial review of this discretionary decision.”). It would be an extraordinary waste of resources,

   for both the parties and the Government, for discovery to continue under the current schedule while

   the Government’s motion is pending. Fact discovery closes on March 15, 2019 under the current

   schedule, Dkt. No. 64, but the briefing on the Government’s Motion to Dismiss is not set to be

   completed until February 25, 2019, Dkt. No. 119. Accordingly, without a stay, the parties are set

   to expend an enormous amount of resources completing fact discovery over the next two months

   while the Motion to Stay is being briefed and decided by the Court.

          The United States concurs with Defendants’ proposed stay of the proceedings and proposed

   expedited briefing schedule.     Remarkably, Relator opposes this simple and common sense

   proposal. Indeed, Relator’s position here is completely inconsistent with its motion to stay the

   litigation proceedings in another one of its related cases. In that case, Relator’s counsel stated:

          The United States’ Motion to Dismiss – one of several the United States filed
          simultaneously in similar cases in several different Districts – presents grounds for
          dismissal that it alone has authority to raise. If the Court were to grant the United
          States’ Motion to Dismiss, the Complaint would be dismissed with prejudice as to
          the Relators. As such, there would be no need for any Defendant to file an Answer
          or a Motion to Dismiss, thus conserving judicial and party resources. Therefore,
          Relators and Defendants jointly respectfully request that the Court enter the



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          attached Order staying the time for Defendants to file an Answer or a Motion to
          Dismiss the above captioned case until further notice from the Court.

   See Ex. A, Joint Motion to Stay the Time for Defendants to Respond to the Second Amended

   Complaint, United States ex rel. SMSPF, LLC, Civil Action No. 2:16-cv-05594 (EDPA), (Dkt. 42,

   Jan. 7, 2019).

          Relator’s refusal to agree to a stay in this case is irreconcilable with its statements to the

   court in the Eastern District of Pennsylvania case. Furthermore, given the amount of discovery

   left to be completed in the next few months under the existing schedule, the concerns about

   conserving judicial and party resources—not to mention the burdens on the Government, the

   “confidential interviewees” who had no idea they were being roped into a lawsuit, and other third

   parties such as doctors and nurses—are far greater here. In light of this, the Court should expedite

   briefing on Defendants’ motion to stay and adjourn the discovery proceedings and other case

   deadlines while the Government’s motion is pending.

                                             ARGUMENT

   I.     The Real Party In Interest—The Government—Has Moved To Dismiss This Action.

          After an extensive investigation, the Government has concluded that Relator’s “allegations

   [] lack sufficient merit to justify the cost of investigation and prosecution and [are] otherwise []

   contrary to the public interest.” DOJ Motion to Dismiss at 1–2. In a rebuke to both the substance

   of the allegations and Relator’s conduct in bringing suit, the Government also states that Relator’s

   allegations “conflict with important policy and enforcement prerogatives of the federal

   government’s healthcare programs” and that Relator “should not be permitted to indiscriminately

   advance claims on behalf of the government against an entire industry that would undermine

   common industry practices, [which] the federal government has determined are, in this particular

   case, appropriate and beneficial to federal healthcare programs and their beneficiaries.” Id. at 16.


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   Moreover, the Government determined that Relator used a “fictitious ‘research study’” and “false

   pretenses . . . to obtain information from witnesses,” which Relator then used to develop “cloned

   complaints” around the country. Id. at 6.

            The December 17, 2018 filing inexorably shifts the landscape of this case.           The

   Government—the real party in interest in this litigation—has determined that Relator’s allegations

   lack merit and that discovery would pose a burden and expense on the Government and taxpayers

   that cannot be justified. See id. at 1, 15. The Government’s conclusions are informed by its

   extensive investigation of eleven nearly identical National Health Care Analysis Group FCA cases.

   Id. at 2. The investigation, which included, among other things, the collection and review of tens

   of thousands of documents from the defendants and third parties and interviews of numerous

   witnesses, including prescribing physicians, ultimately found Relator’s “allegations to lack

   sufficient merit to justify the cost of investigation and prosecution and otherwise be contrary to

   the public interest.” Id. at 1–2.

   II.      The Court Should Adjourn The Discovery Proceedings And The Rest Of The Case
            Schedule While The Government’s Motion To Dismiss Is Pending.

            The Court should stay discovery while the Government’s motion to dismiss is pending.

   Staying discovery would alleviate the undue burden and expense on Defendants, the Government,

   and third parties of continued discovery production in a case that the Government argues lacks

   merit.    Additionally, a stay of discovery would reduce the very burden and expense the

   Government’s motion seeks to avoid.

            The Court may stay discovery for “good cause.” Fed. R. Civ. P. 26(c). Good cause exists

   when the party receiving the discovery request would suffer “annoyance, embarrassment,

   oppression or undue burden or expense” absent a stay. Bickford v. Boerne Indep. Sch. Dist., No.

   5:15-CV-1146-DAE, 2016 WL 1430063, at *1 (W.D. Tex. Apr. 8, 2016). It also exists “where


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   the disposition of a motion to dismiss ‘might preclude the need for the discovery altogether, thus

   saving time and expense.’” Von Drake v. Nat’l Broadcasting Co., Inc., Case No. 3-04-CV-0652R,

   2004 WL 1144142, at *1 (N.D. Tex. May 20, 2004) (quoting Landry v. Air Line Pilots Ass’n

   Intern. AFL-CIO, 901 F.2d 404, 436 (5th Cir. 1990)). Moreover, “[d]iscovery is not justified when

   cost and inconvenience will be its sole result.” Landry, 901 F.2d at 436.

          Good cause plainly exists here because, under any standard the Court might apply, the

   DOJ’s Motion to Dismiss is extraordinarily likely to be granted. See DOJ Motion to Dismiss at 9

   (“In Swift v. United States, 318 F.3d 250, 252 (D.C. Cir. 2003), the Court of Appeals for the District

   of Columbia interpreted the FCA to grant the Government “an unfettered right to dismiss” a qui

   tam action. The Ninth Circuit has applied a “rational relationship test” for dismissal but has also

   recognized that the United States has broad prosecutorial discretion to dismiss even meritorious

   qui tam cases where the reasons for dismissal are rationally related to a legitimate Government

   interest.” (citing United States ex rel. Sequoia Orange Co. v. Baird-Neece Packing Corp., 151 F.3d

   1139 (9th Cir. 1998)). The Fifth Circuit has stated that “the government retains the unilateral

   power to dismiss an action notwithstanding the objections of the [relator].” See St. Luke’s Hosp.,

   252 F.3d at 753 n.11. And courts in the Fifth Circuit have dismissed FCA cases upon the

   Government’s motion under the Swift standard. See, e.g., United States ex rel. Gal-Or v. Northrup

   Gruman, No. 4:17-cv-00139-O (N.D. Tex. Oct. 26, 2017) (following Swift and explaining that

   “[n]othing in the language of 3730(c)(2)(A) suggests anything less than affording the Executive

   the historical prerogative to decide which cases are prosecuted in the name of the United States.”);

   United States ex rel. May, 2014 WL 5454819, at *3 (“The Swift court makes a compelling case

   that the United States should not be compelled to permit a relator to sue on its behalf and that the

   statutory language does not require—or even permit—judicial review of this discretionary



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   decision.”). Given that dismissal is a near certainty, this is the quintessential case in which

   discovery should be stayed because “cost and inconvenience will be [the] sole result.” Landry,

   901 F.2d at 436.

          Good cause also exists because discovery would cause “oppression or undue burden or

   expense.” Bickford, WL 1430063, at *1. Discovery has already been, and will continue to be,

   burdensome on the Defendants. It has involved the production of years of records from multiple

   defendants, across four different drugs and three different programs. Each of these nine specific

   drug-program combinations has its own set of contracts, training records, emails, and witnesses,

   among other things. Defendants have already devoted considerable resources and incurred

   hundreds of thousands of dollars in costs to fulfill their discovery obligations to Relator over the

   eight months. Continuing to collect, review, and produce documents will add to the already

   significant expense the Defendants have incurred defending this case and participating in

   discovery. Moreover, with fact discovery scheduled to close on March 15, the burden on

   Defendants will increase substantially over the next two months, as deposition discovery has not

   yet begun. Moreover, briefing on the Governments’ Motion to Dismiss will not conclude until

   February 25, 2019—less than three weeks before the close of fact discovery—making it

   impractical, if not impossible, to delay the remaining discovery until after a ruling on the

   Government’s motion without a stay.

          The case also requires extensive discovery from the Government, which the Government

   has concluded is not justified. DOJ Motion to Dismiss at 15. In its motion to dismiss, the

   Government noted that during the alleged time period, “there were nearly 500,000 prescriptions

   for the Bayer drugs at issue, written by more than 10,000 physicians treating tens of thousands of

   Medicare beneficiaries.” Id. The Government acknowledges that if discovery proceeds it will



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   have to bear the expense and burden of “collecting, reviewing, processing, and producing” these

   documents, which come from multiple federal healthcare programs. Id. Additionally, the

   Government will have to produce “voluminous prescription drug event data and patient health

   information for potentially thousands of beneficiaries, which, due to its sensitive nature, may

   require additional (and costly) screening and redaction.” Id. A motion to stay discovery while the

   DOJ Motion to Dismiss is pending would protect the Government’s interest by sparing it the

   burden and expense of extensive discovery production in a case it argues lacks merit and is

   “unlikely to yield any recovery sufficient to justify” the significant costs and burdens” it stands to

   bear. Id. at 16.

          Moreover, to establish “falsity,” Relator must provide evidence that the kinds of services

   at issue in the FAC are kickbacks under the AKS. See U.S. ex rel King v. Solvay Pharm., Inc., 871

   F.3d 318, 332 (5th Cir. 2017). Doing so will require discovery of the Government agencies

   charged with enforcing the AKS. Similarly, because Relator must show that the alleged support

   services were “material” to the federal and state governments’ payment decisions, discovery will

   be required from various government officials to determine what they knew about the Defendants’

   alleged programs. See U.S. ex rel. Harman v. Trinity Indus., Inc., 872 F.3d 645 (5th Cir. 2017)

   (overturning jury verdict for relators in FCA case because the defendant’s conduct was not material

   to the Government’s decision to pay the claims at issue).1




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     Defendants have shared with the Government draft requests for documents from CMS, the
   Department of Defense Health Agency, Health and Human Services Office of the Inspector
   General, and DOJ. Defendants also intend to notice depositions from relevant agency employees.
   Defendants hope to spare the Government the burden of having to respond to these requests given
   that the Government has already determined the case should be dismissed. However, Defendants
   intend to serve the requests pursuant to the Federal Rules of Civil Procedure and the Government’s
   Touhy regulations if the motion to stay is denied.

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           Equally burdensome discovery will be required from third parties. These include the so-

   called “confidential interviewees” who were not informed during the fictitious “market research”

   that the Relator actually intended to involve them in a lawsuit, see DOJ Motion to Dismiss at 6,

   and the doctors who prescribed the four drugs identified in the SAC. See U.S. ex rel. Bennett v.

   Medtronic, Inc., 747 F. Supp. 2d 745, 768 (S.D. Tex. 2010) (observing that “certain information”

   relevant to an FCA action including “billing and reimbursement information” is in the possession

   of “doctors, hospitals, and government agencies.”). For example, the Court noted that Relator

   failed to meet 9(b)’s pleading standard, because it failed to “identify a single doctor who eliminated

   staff positions (or who such staff are) or otherwise actually received ‘substantial value’ as a result

   of the free nurse or reimbursement support services provided for the three medicines at issue.”

   Dkt. 91 at 82. To prove its case, Relator will require extensive discovery against doctors, their

   staff, and their medical facilities.

           By contrast, a stay while the Court considers the Government’s motion to dismiss will not

   prejudice anyone. The Government, in whose shoes Relator purports to stand, seeks dismissal and

   to avoid discovery. Consequently, a stay cannot possibly prejudice the real party in interest—the

   Government.

   III.    Expedited Consideration of Defendants’ Motion to Stay Discovery Will Preserve
           Considerable Resources.

           Expedited consideration of Defendants’ motion to stay discovery is necessary given the

   looming discovery deadlines and sheer amount of wasteful discovery that both parties will have to

   engage in over the next two months. See Docket Control Order, Dkt. 64. The parties face a

   February 15, 2019 deadline to complete document production and a March 15, 2019 deadline to

   complete all fact discovery. See id. Both parties will need to expend considerable resources to

   meet these deadlines—custodial document production has only recently begun and no party has


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   even noticed a single deposition of an individual. Expedited consideration of Defendants’ motion

   to stay will allow the parties, including the Government, to preserve significant resources by

   ensuring that the Court can determine the merits of Defendants’ motion to stay before the

   upcoming discovery deadlines. Defendants ask that the briefing on their Motion to Stay be

   expedited on the following schedule:


    Defendants’ Motion to Stay (not more than 10 pages)             January 15


    Relators’ Response to Motion to Stay (not more than 10 pages) January 21


    Defendants’ Reply (not more than 5 pages)                       January 24



                                          CONCLUSION

          Defendants respectfully ask this Court to stay discovery during the pendency of the

   Government’s Motion to Dismiss and to grant expedited briefing on Defendants’ motion to stay.

   A stay of discovery would promote efficiency and fairness, and would not prejudice Relator.


   Dated: January 15, 2019
                                                  Respectfully Submitted,

                                                  By: /s/Benjamin J. Razi w/permission Claire
                                                     Abernathy Henry
                                                     Matthew J. O’Connor (pro hac vice)
                                                     Benjamin J. Razi (pro hac vice)
                                                     Covington & Burling LLP
                                                     One CityCenter
                                                     850 Tenth Street, NW
                                                     Washington, DC 20001-4956
                                                     Telephone: (202) 662-5469
                                                     Facsimile: (202) 662-6291
                                                     Email: moconnor@cov.com
                                                     Email: brazi@cov.com



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                                             T. John Ward, Jr.
                                             State Bar No. 00794818
                                             Claire Henry
                                             State Bar No. 24053063
                                             WARD, SMITH & HILL, PLLC
                                             PO Box 1231
                                             Longview, Texas 75606-1231
                                             Telephone: (903) 757-6400
                                             Facsimile: (903) 757-2323
                                             Email: jw@wsfirm.com
                                             Email: claire@wsfirm.com

                                             ATTORNEYS FOR DEFENDANT
                                             BAYER CORPORATION

                                             /s/ John P. McDonald w/permission Claire
                                             Abernathy Henry
                                             John P. McDonald
                                             State Bar No. 13549090
                                             jpmcdonald@lockelord.com
                                             C. Scott Jones
                                             Texas Bar No. 24012922
                                             sjones@lockelord.com
                                             W. Scott Hastings
                                             Texas Bar No. 24002241
                                             shastings@lockelord.com
                                             LOCKE LORD LLP
                                             2200 Ross Avenue, Suite 2800
                                             Dallas, Texas 75201-6776
                                             Telephone: (214) 740-8000
                                             Facsimile: (214) 740-8800

                                             W. David Carter, TSB No. 03932780
                                             MERCY ✯ CARTER, L.L.P.
                                             1724 Galleria Oaks Drive
                                             Texarkana, Texas 75503
                                             (903) 794-9419 - Telephone
                                             (903) 794-1268 - Facsimile
                                             wdcarter@texarkanalawyers.com

                                             ATTORNEYS FOR
                                             AMERISOURCEBERGEN
                                             CORPORATION AND THE LASH
                                             GROUP



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                                    CERTIFICATE OF SERVICE

           I hereby certify that a copy of the foregoing document was filed electronically in

    compliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

    are deemed to have consented to electronic service on this the 15th day of January, 2019.


                                                        /s/ Claire Abernathy Henry
                                                        Claire Abernathy Henry




                                 CERTIFICATE OF CONFERENCE

           In compliance with Local Rule CV-7(h), Samuel Baxter, counsel for Plaintiff, conferred

    with T. John Ward, Jr., counsel for Defendants, by phone in a good faith attempt to resolve this

    matter without Court intervention. The parties could not reach an agreement on the stay, and

    discussions have conclusively ended in an impasse, leaving an open issue for the Court to

    resolve.

                                                        /s/ Claire Abernathy Henry
                                                        Claire Abernathy Henry




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